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Chu\a \/istn, CA 91910 l: §§
jercmy@g,oldcnczirdormcoin 33 53
.Ph@n@; 619_4_76-0030; F@x; '775_893_5471 ::
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`U`N,[”.l`E-D STAT_ES D_lrSrl"l`{l`CT CO`U_`RT
CEN”I`R&L_\L D'[STR:I`C"I` OP` CAL`[FORN.[A - 'EASTERN D_l\/l_S,lOr\‘

 

 

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\/l\/lAN ArLD/-\Z, an individna|, ) Ca.sc No.:
)

Plainti'[":l" ) COI\<IPLA`,[NF.I` A`ND DEM_A Nil`) _FOR

) J`URY TR[AL (`Unl:rwf`ul Dc.br

v. ) Co||cction _I',’mct:ices)
)

NCO Fl'NANCl/~\L SYSTE`MS, l`_`NC; )

SALL.IE i\/i,L\E, I.NC.; and DOES l )

through 10 inclusi\/e, )
)

De{’cndants. )
)
)
)
K`. l NT`RO`D`U CT]'ON
l. This is an action for damages brought by an individual consumer against

Dc;t`cndants v|i“or violations oftlic l~`air chr Collection Practic@s Act, 15 U.S.C. §1692, er .s~@q.
(“FDCPA") and the California Roscnrhal Acr, Ci\/il Codc §1783 er seq ("‘R,os@nrnal Aci,")
both ofwnicli prohibit debt collectors vfrom engaging in abusi\/e, decopliivo, and unfair

practices and for invasion Oifpri\/acy.

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CO\\'H:’LAi`N'|` .L\ND DEMAND l-`OR ,IUR,Y TR_\/-\L

 

 

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,l"l. J'UR`lSDlCTlON AN`D V`ENUE
2. .1 urisdiction otthis Court arises under 15 U.S.C. §16921<(d) and 28 U.S,C.
§133 1. Supplemental jurisdiction exists 't`or the state law claims pursuant to 28 U.S.C. §1367.
`\/enue in this District is proper in that the `_Det`endants transact business here and the conduct
complained ol"occurred here.
.l§l__l_. PA_RTIES

3. l`)lainti'til“` Vl\/:lAN ALDAZ is a natural person residing in the state o't"Cali'l"`ornia,
County of San Bernardino.

¢1. 'Del`:`endantNCO F`l'NANC.lAL SYSTEMS, l't\lC. (“NCO”} is a corporation doing
business ot` collecting debts in Calit`ornia operating 'l"`rom an address at 3850 r\l. Cause\/vay
Blvd., l\/letairie, bia 700()2. `lts agent ;t`or service ol;"process is C'.l` Corporation System, 818
W. Seventh St., Los /-\i'igeles, CA 90017.

5, Det`endant S/-\_lrjl;ll§ `r\/IA_E, lNC. is a corporation doing business ot collecting
debts in Calitornia operating 'l"rom an address at 12061 Bluemo_nt Way, `R,esron, \/"iL\ 2019(),
Its agent li`or service ol°process is CT Corporation System, 818 W. Seventh St~7 Los /-\nge|es,
CA 90017.

6. Del§`endants are engaged in the collection oit` debts from consumers using the mail
and telephone De'r'i`endants regularly attempt to collect consumer debts alleged to be due to
another. Detendant NCO is a “debt collector`" as defined by the FDCPA, 15 U.S.C_
§1692€1(6), and by the Rosenthal Act., Calit`ornia Civil Cod.e 1788.2(c). De’fendant SAl_l;.lE
l\/_l_AE is a “debt collector” as defined by the Rosenthal Act, Calil"ornia Civil Code 1788.2(_c).

7. The true names and capacities, whether individual, corporate (including ot`l`iicers
and directors thereot), associate or otherwise ofDefendants sued herein as 'DOES 1 through
l(), inclusive, are unknown to ll-”laintit"l", who therefore sues these Det`enc.iants by such
fictitious narnes. Plaintift` is informed and believes, and alleges that each De't`endant
designated as a DO:E is involved in or is in some manner responsible as a principa|,
benel'iciary, agent, co-conspirator, joint venturer, alter ego, third party benel§`rciary, or

othcr\»vise, 't`or the agreements, transactions, events and/or acts hereinal?`ter described7 and

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COMPLA|NT .~\ND DEMA`ND ll`OR JURY ’1`1{1)\ls

 

 

 

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thereby proximately caused injuries and damages to `Plaintif,f. `,Plaintiff requests that when the
true names and capacities of these ,DOE Defendants are ascertained, they may be inserted in
all subsequent proceedings, and that this action may proceed against them under their true
1"1'¢1111€$.

S. Plaintiffis a “consumer"" as defined by the .FDCPA, 15 U.S.C, 1692a(3).

9. 'l`he purported debt that Defendants attempted to collect from Plaintiff was a
“debt” as defined by the .1“`_DCPA, 15 U.S.C. §1692a.(5).

10. Plaintiff is a "debtor” as defined by the Rosenthal Act, California Civil Cotle
ivss.z(ri)_

1 1. The purported debt which Defendants attempted to collect from `l¢’laintiff was a
“consumer debt” as detined by the Rosenthal Acr., Californi_a Civil Code §1'788.2(1`)

1V. FACTUAL ALLE»CAT`|`ONS

12. T`he FDC`PA was enacted to "`eliminate abusive debt collection practices by debt
collectors, to insure those debt collectors who refrain from using abusive debt collection
practices are not competitively disadvantaged, and to promote consistent state action to
protect consumers against debt collection a,buses."

A //egatio/rs Agm`n.st NCO

13. At a time t.m_lcno\vn, NCO acquired information regarding an alleged debt that
P,laintiff incurred

1<1. Within the last year, `NCO was calling Plaintiff in an attempt to collect a debt

15, Over the course of several months NCO called with such frequency and

persistence as to constitute harassment

16. On more than one occasion, NCO called Pla_intiff more than once on a single
day.
17. On certain days NCO called Plaintiffan estimated five times

18. On certain days N'CO called PlaintiffB-4 times an hour.
A//egarjions Against SAL.L./E MA_E

19_ Within the previous year, SA_lo_LifE r\/lAE was calling Plainti't"f in an attempt to

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COMPLAINT AND DEMAND l~`OR JURY TRl.»\L

 

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collect a debt.

ZO. SALL|E ’t\/_lAlE called with such frequency and persistence as to constitute
harassment

21, On more than one occasion, SALI;[E `l\/IAE called Plaintit't` more than once orr a
single day.

22. On certain days SALLIE l\/l.A_E called Plai.nti;l"'l;` an estimated ten~twelve times

23. lt is estimated that in certain weeks SA`L,lQl`E `r`\/_lAE called Plaintit`t`seven
consecutive days

24. SAtsl;lE 1\/1A`E called Plaintit`t`s cell phone

25. SALLl_E `M.A`E called _Plaintittin excess of 100 times

26. Plaintit`t”s attorney sent SALL.LE `MAE a letter via tax and mail requesting that
all calls to 13lainti1t"li`sto_p.

27. SAL.Ll,.E `t\/_l`AllE continued to call `Plaintitt`at`ter receipt ot` the cease and desist and
notification o'tattorney representation

\/. `F`I`RST C_L-A`l"t\’.l` `F'OR REL;[EF
(Ag:iinst. ,Det`endant NCO for Violation ot` the IT,I)C_l,’r\)

28. Plainti'l§t` repeats, realleges and incorporates by reference all ot the ‘l"oregoing
paragraphs

29. Det`endants violated the FDCPA. De't`endants’ violations include, btrt are not
limited to, the t`ollowing:

(a) Thc Detendants violated 15 U.S.C. § 1692d by engaging in conduct the
natural consequence otwhich is to harass, oppress, and abuse persons in
connection with the collection o`tthe alleged debt;

(b) .The De'l§`endants violated 15 U.S.C. § 1,69261(5) by causing the phone to
ring or engaging a person in telephone conversations repeatedly with the
intent to harass, oppress, and abuse the Pla.inti’t'tin connection with the
collection ot`the Debt; and

tc`) ",1"he De;t`enda.nts violated 15 U}S.C. § 1692(® by using unt`air or

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COr`\/ll`)l..A|N`l` .»\ND DEt`\/lAND FOR JURY 'l`l`{_|r'\l,

 

 

 

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unconscionable means to collect or attempt to collect a debt.

30. As a result o'tthe above violations otthc FDCPA, _De't`endants are liable to the
Plaintitt` t`or Plaintitt`s actual damages, statutory damages, and attorney’s t`ee.s and costs
pursuant to 15 U.S.C. §16921<_.

V`,l. SECOND CLA`,IM ,FOR R.EL,[EF
(Against all `l)el`endants for Violation of the Rosentha| /~,\ct)

31. Plainti't"t repeats, realleges; and incorporates by reference all ol;`the l;`orcgoing
paragraphs

32. Det`endants violated the Rosenthal /~\ct, by including but riot limited to, the
following

(a) The Dejite.ndants violated Calit`ornia Civil Code §1788.1 l(d) by causing a
telephone to ring repeatedly or contin`uo`t`rsly to annoy the person called;

(b) "l"he Dei|:`endants violated Calitornia Civil Code §1,788.1 l(e) by
communicating with the Plain`tit`t with such frequency as to be
unreasonable and to constitute an harassment to the l’laintit"t` under the
circumstances;

(c) Det`enda.nt SiL\LLtlE t\/.lA.E violated Ca|itotnia Civil Code §1788.14@) by
communicating with the `Plaintit'tatter the Plaintifl”s attorney notilied
SALLlE r\/.l/~\_E that the Plainti't"t` was represented by an attorney;

(d) De:t`enda.nt NCO violated Calit`ornia. Civil Code §1788»17 by 't`ailing' to
comply 15 U.S.C. §§ 1692d; 1692d(5); and 1692t; and

(e) Det`endant SALL[,E ,t\/lArE violated Ca.lifornia Civil Code §1788.17 by
failing to comply 15 U.S.C. §§ 1692b(6); 1692c(a)(2); 1692ctc); 1692<;15
1692d(5); and 16921“,`.

33. Det`endants’ acts as described above were done intentionally with the purpose ot`

coercing Plaintitt` to pay the alleged debt.
34. As a proximate result ot`Det`endants’ violations enumerated above, l>lainti't"l" has

been damaged in amounts which are subject to proot`.

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35. Defendants’ violations ofthe Rosenthal Act were willful and lcno\ving.
Defendants are therefore liable to Plaintif'f for Plaintift”s actual damages, statutory damages,
and attorney`s fees and costs pursuant to California Civil Code §1788.30.

V:t`_l‘. ”1_` HQ[R_D CLA`,[t\/,l` `F`OR REL`.|.EF
(Against all _l)et'endan ts for .llnvasion ot"Privacy: intrusion `.linto 1~’rivate /-\t"t`airs

36. Plaintit"f repeats, realleges, and incorporates by reference all ofthe foregoing
paragraphs

371 Plaintift` had a reasonable expectation of privacy in her solitude, seclusion, and
private concerns and affairs
38. 'l)efendants willfully and intentionally intruded into Plainti'ff`s solitude,
seclusion and private affairs by repeatedly and unlawfully attempting to collect a Debt.

39. De fendants’ intrusions would be highly offensive to a reasonable person and did
in fact offend Plaintit"lj`.

4(). As a result of such invasions ofpr.ivacy, P_laintit`f was harmed and caused great
mental and physical pain_

Ll,l. Defendants acted with oppression or malice, and De'fendants are
therefore liable to Plaintif'f` for damages in an amount to be proven at trial, and for punitive
damages
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W`l'lE`l`{EFORE/, Plaintifl" respectfully requests that 1 udgment be entered against
De'fendants and each oft.hem for the fol|ov~/ing;

(a) Actual damages;

(b) Statutory damages pursuant to l5 U.S.C. § l692k aOainst NCO and
C.alitomia Civil Code§ 1788 30(a) against both Del`;endants

(c) Costs and reasonable attorney s fees pursuant tol 5 `§U.S.C. § l692k awainst
NCO and Califotnia Civil Code § 788. SO(b) and§ l788 BO(c) anal inst both
Defendants;

(d) l?'unitive damages; and

(e) l?or such other and further relief as the Court may deem just and proper.

`Date: ;/0[ //GL

 

 

leien S. Golden //
~\tt rney for Pl aint/f

`DEl\/,l AND FOR J"URY TRIAL

Please take notice that `Plainti'ff demands trial byjury in this action

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`Name & .~\ddress; leremy S. Golden (SBt\' 228007)
Golden & Cardona-l_-oya, lsle
3l30 Bonita Road. Suite 2001-3
Chula Visla, C,L\ OlQlO
_ie1~e111>'(g,goltlencardona.com
|`)hone: 6|9'<176-0()30|:21.\: 775-898-547l
'UN`l`TED S'l`;-`\TES ,t)l`STl`LlC'_l` Cj()UR'l`
C Et\"l`\l`(,'-\L `D_lSTR[CT C)F C.L\ L,~ 1117 O_`Ri\l l,.¢\

 

VlVl.‘\N ,L\l,D/-\Z. an individual, CASE NUMEER
§§ §§ m §§a§§ @/t//°§ Si@v
t)L,_\tt\=TtF-F<s) ' § a

v.

 

NCO Fl`t\'.'~\NClr'\l, S\"S"l`l§t\’l$, INC; SALLIE 1\/|/~\\§,

|NC.: and DOES l through l(l inclusive,
S`l.l 1\’| 1\’101\‘5

l)i;`l"Ei\‘D,»\i\‘T(S).

 

'l`O: Dl§l" E N D/~\i\"f(S):
./-\ lawsuit has been filed against you.

\'\/ithin 31 days after service of this summons on you (not counting the day you received it`,l. you
must Ser\-'e on the plaintiff an answer to the attached ill/complaint Cl __ amended complaint
l:l coun1e1‘c.laim ij cross-claim or 11 motion under Rule lZ of the Fedei'zil _|{1.1les ul"C`,i\-=il l>rocedure. ’l"he ans\-vet
or motion must be served on the plaintiffs attorneyz ~l€remv S. Golden , whose address is
3130 l.~lonita Road, Suite ZOO-B, Chula \/`ista: C.alil`ornia, 9l9l0 y 1[`>_1(… rim 10{1@5@_
judgment by defauh will be entered against you for the relief demanded `n the complaint \”t111 also must tile
your answer or motion \vith the court § "

Dated: By;

 

 

(..\“t'i'// Q/'/.ie (/`/_);1)',"_)

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1\'ame & Address: _|eremy S. Golden (SBN 228007)
Golden & Cardona-Loya, bl,P
3130 Bonita Road, Suite 2003
Chu|a \/ista, C/\ 9l9l0
_ieremy@goldencardona.com
Phone: 6|9-476-0030Fax: 775_898»547|
'UN l"_l`ED S'|`A'l`ES D,lS'l`RlC'l` COURT
C ENTRAL `D`ISTR.`ICT O`F CAL'I.FO Rl\' lx-\
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V.
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lNC.; and DOES l through |0 inclusive,

 

 

 

SU t\'l l\/I,Ol\l S
DEFENDANrrs).
TO: D.l§l`*`El\l DAN“I"(S):
A lawsuit has been filed against yoti.
Within Zl days after service ofthis Summons on you (no`t countingr the day you received it`). you

must serve on the plaintiff an answer to the attached lit/complaint l:l amended complaint
E counterclaim 13 cross*claim ora motion ttnder Rule lZ ofthe Fedet'al Rules ofCivil Procedure. 'l`he answer

 

 

or motion must be served on the plaintist attorney, `l@l`€m\.’ S~ GO|d@n ., whose addrCSS is
3 l 30 Bonila Road, Suite ZOO-B, Chula Vista, California, 9l910 _ lfyott l`ail to do so,
judgment by default \vill be entered against you for the reliefdemanded in the complaint You also must tile
your answer or motion with the court TERRY NAHS§

c1@1-t, u_s. t)istnu col 1/

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Dated: §§ka By; r l

  

 

 

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Case 2:12-cv-O4205-D|\/|G-SP Document 1 Filed 05/14/12 Page 11 of 12 Page |D #:23

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Case 2:12-cv-O4205-DI\/|G-SP Document 1 Filed 05/14/12 Page 12 of 12 Page |D #:24

`U,NI,TED STATES DIST'R`ICT COURT
CENTRAL[HSTRH:FOF(LHJFORNU\

NO"l`lCE OF ASS`,lGNM ENT TO UNITEI) STA'l`ES MAG[STRATE JUDGE FOR DlSCO\/ERY

Tliis case has been assigned to District lodge Dolly Gcc and thc assigned discovery
l\/lagistratc lodge is Shori Pym.

Thc case number on all documents filed with thc Court Sltould read as follows:

cvlz~ 4205 DMG (SPx)

Put‘Suant to Gcncral Ordcr 05-()7 ot`tho `Unitcd Stzitcs Distt‘ict Court t`or thc Ccntrzil
District of Calit`ornia, the l\/lagistratc lodge has been designated to hear discovery related
motions

All discovery related motions should be noticed on thc calendar o'ftho l\/lagistrato .ludgc

NOT|CE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (/'f a removal action is
filed, a copy of this notice must be served on all plaintifts)t

Subsequenl documents must be died at the following location

)(] Westem Division Southern Division Eastern Division
312 N. Spring St., Rm. G-8 411 West Fourth St., Rm. 1-053 3470 Twelfth St., Rm. 134
Los Angeles, CA 90012 Santa Ana, CA 92701-4516 R`tverside, CA 92501

Failure to file at the proper location will result in your documents being returned to you.

 

CV-18 (03/06) NOT|CE OF ASS|GNMENT TO UNlTED STATES MAGISTRATE JUDGE FOR DlSCO\/ERY

